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                            UNITED ST ATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                     EUGENE DIVISION


UNITED STATES OF AMERICA                             6:18-cr-   ?51-AA
               v.                                    INDICTMENT

KEITH ATHERTON,                                      18 U.S.C. § 2251(a), (e)
                                                     18 U.S.C. § 2252A(a)(2), (b)(l)
               Defendant.                            18 U.S.C. § 2252A(a)(5), (b)(2)

                                                     FORFEITURE ALLEGATION




                              THE GRAND JURY CHARGES:

                                           COUNT 1
                    (Using or Attempting to Use a Minor to Produce Visual
                            Depiction of Sexually Explicit Conduct)
                                   (18 U.S.C. § 225l(a), (e))

       On or before July 13, 2018, in the District of Oregon and elsewhere, defendant KEITH

ATHERTON, attempted to and did knowingly employ, use, persuade, induce, entice, and coerce

a minor to engage in sexually explicit conduct for the purpose of producing a visual depiction of

such conduct, knowing and having reasonable cause to know that the visual depiction was

produced using materials that had been mailed, shipped or transported in or affecting interstate

commerce and that the visual depiction would be transported using any means or facility of

interstate commerce, including by computer;
Indictment                                                                                      Page 1
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       In violation of Title 18, United States Code, Section 2251 (a) and (e).

                                           COUNT2
                              (Distribution of Child Pornography)
                                (18 U.S.C. § 2252A(a)(2), (b)(l))

       On or before July 13, 2018, in the District of Oregon, defendant KEITH ATHERTON,

knowingly and unlawfully distributed child pornography, as defined in Title 18, United States

Code, Section 2256(8), which contained a visual depiction of a minor engaged in sexually

explicit conduct, such image having been mailed, shipped, distributed, and transported in or        I
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affecting interstate and foreign commerce by any means, including by computer;

       In violation of Title 18, United States Code, Sections 2252A(a)(2) and (b)(l).
                                                                                                    II
                                           COUNT3
                               (Possession of Child Pornography)
                                (18 U.S.C. § 2252A(a)(5), (b)(2))
                                                                                                    II
       On or before July 13, 2018, in the District of Oregon, defendant KEITH ATHERTON,
                                                                                                    II
knowingly and unlawfully possessed child pornography, as defined in Title 18, United States
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Code, Section 2256(8), which contained a visual depiction of a minor engaged in sexually
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explicit conduct, such image having been produced using materials that have been mailed or

shipped in interstate commerce or such image having been mailed, shipped, and transported in or     I
                                                                                                    If
affecting interstate and foreign commerce by any means, including by computer;                      ~

                                                                                                    f
       In violation of Title 18, United States Code, Sections 2252A(a)(5) and (b )(2).
                                                                                                    [
                                                                                                    f


                                                                                                    II
                         CRIMINAL FORFEITURE ALLEGATION

       Upon conviction of any of the offenses listed above, defendant KEITH ATHERTON,

shall forfeit to the United States pursuant to 18 U.S.C. § 2253, any and all property used or
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Indictment                                                                                  Page2
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intended to be used in any manner or part to commit or to promote the commission of the

aforementioned violations.

       Dated: July 18, 2018

                                                   A TRUE BILL.




Presented by:




Indictment                                                                                Page 3
